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     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 09-00193 KJM
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,               ) STATUS CONFERENCE
10                                       )
          vs.                            ) Court: Hon. Kimberly Mueller
11                                       ) Time:   10:00 a.m.
                                         ) Date:   August 25, 2011
12   Leslie Miller Bell,                 )
                                         )
13              Defendant
14

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17        Defendant Leslie Bell, by and through his undersigned counsel,
18   and the United States of America, by and through Assistant United
19   States Attorney, Jill Thomas, request that this matter be continued
20   for a status conference to September 29, 2011 and that date is
21   available with the court.   Mr. Bell is charged in an indictment
22   alleging three counts of violations of 21 U.S.C. §§s 841(a)(1) ±
23   Possession of Cocaine Base with Intent to Distribute.     A status
24   conference was previously set for August 25, 2011 and the parties
25   requested a pre-plea pre-sentence report.    That report has now been
26   completed and it finds that Mr. Bell is a career offender with a 294
27   month sentence recommendation, nearly 25 years.     The abstracts of Mr.
28   %HOO¶VSULRUUHFRUGOHGWRKLVFDUHHURIIHQGHUGHVLJnation.      Mr.




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 1   %HOO¶VGHIHQVHLQYHVWLJDWRUKDVnow obtained his criminal records and

 2   is providing copies to the government, so that both parties will have

 3   them reviewed for the settlement conference between defense counsel

 4   and the government.   The parties are actively involved in

 5   negotiations, and now have the prior records that are essential to a

 6   resolution.   The defense is also continuing its investigation and

 7   hopes to have additional information to provide to the government. The

 8   parties request that the current status conference be continued to

 9   September 29, 2011, and that date is available with the Court.

10        The parties agree that time should be excluded under 18 U.S.C. §

11   3161(h)(8)(i) for defense preparation and under local code T4.

12
     Dated: August 22, 2011            Respectfully submitted,
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15                                     __/s/ Shari Rusk___
                                       Shari Rusk
16                                     Attorney for Defendant
                                       Leslie Bell
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18                                      /s/ Jill Thomas
                                       Jill Thomas
19                                     Assistant United States Attorney
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 1                                     ORDER

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 3        IT IS SO ORDERED.    The status conference set for August 25, 2011

 4   is reset for September 29, 2011 at 10:00 a.m.    The Court finds the

 5   ends of justice served by taking such action outweighs the best

 6   interest of the public and the defendant in a speedy trial and

 7   excludes time through September 29, 2011 as provided by 18 U.S.C. §

 8   3161(h)(7)(B)(iv), local code T4.

 9   DATED: August 23, 2011.

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                                          UNITED STATES DISTRICT JUDGE
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